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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.

                 Plaintiffs,

                          v.
                                                     Civil Action No.18-1551 (ESH)
  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                 Defendants.


                                  DEFENDANTS’ NOTICE

       In accordance with the Court’s Order entered on September 11, 2019 (ECF No. 139),

Defendants respectfully submit this Notice to inform the Court that they have produced to

Plaintiffs’ counsel the information and 20 of the 24 files ordered by the Court on September 11,

2019. Defendants produced 20 files rather than 24 files as the Court ordered because, after

review of the files, it was determined that there were no MAVNI DEP discharge files for

December 2018 and only one discharge in February 2019 and June 2019.



Dated: September 13, 2019                    Respectfully submitted,

                                             JESSIE K. LIU
                                             D.C. Bar # 472845
                                             United States Attorney

                                             DANIEL F. VAN HORN
                                             D.C. Bar # 924092
                                             Chief, Civil Division


                                     By:     /s/Jeremy A. Haugh
                                             JEREMY A. HAUGH
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